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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

   Donald J. Trump,

                            Plaintiff,

           v.
                                                         Civil Action No. 2:22-cv-14102-DMM
   Hillary R. Clinton et al.,

                            Defendants.



   CHARLES DOLAN’S OPPOSITION TO PLAINTIFF AND PLAINTIFF’S ATTORNEYS’
                        MOTION TO DISQUALIFY
          Charles Dolan opposes the Motion To Disqualify filed by Plaintiff and Plaintiff’s

   Attorneys (collectively, the “Movants”), for the following reasons.

          1.        Movant Rehashes His Prior Motion, Based on the Court Dismissing His Case,

   Which Is an Especially Inappropriate Grounds of Recusal. Plaintiff rehashes his prior motion

   to disqualify, previously denied, with a logically incoherent twist. Plaintiff takes the position that

   the Court, in ruling against Plaintiff unequivocally and thoroughly, has confirmed Plaintiff’s case

   for bias and recusal. Under this reasoning, any unequivocal, harsh ruling against Plaintiff could

   be raised as grounds for recusal.

          The more logical and rational conclusion from the Court’s prior decision, especially given

   the obvious deficiencies cited by the Court, is that Plaintiff and his counsel brought a defective

   case, filed creative but deficient (and in some cases false and outlandish) pleadings, and pursued a

   political vendetta in a legal proceeding.       Under these circumstances, recusal is especially

   inappropriate.

          2.        Plaintiff Is Improperly Judge-Shopping. Plaintiff filed this case in the Southern

   District of Florida, rather than Washington, D.C., or other districts, despite the locus of the claim


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   being elsewhere, and then once here, has sought from the beginning to recuse the trial judge based

   on the presidential appointment.

          As Chief Justice Roberts stated:

          We do not have Obama judges or Trump judges, Bush judges or Clinton
          judges. What we have is an extraordinary group of dedicated judges doing
          their level best to do equal right to those appearing before them. The
          independent judiciary is something we should all be thankful for.


          Quoted in the Associated Press, November 21, 2018.

          The Plaintiff’s actions here attempt to bypass the normal system of assignment, which is

   designed to further equal treatment and an independent judiciary. In so doing, Plaintiff’s efforts

   strike at the heart of our system of equal justice under law.

          Defendant Dolan otherwise joins in the pleadings filed by other Defendants.

          Plaintiff’s motion must be denied.

   Date: August 28, 2023

                                                 Respectfully submitted,

                                                 /s/George R.A. Doumar
                                                 George R.A. Doumar
                                                 Pro Hac Vice
                                                 Jonathan E. Levine, Esquire
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                                                 Counsel for Charles H. Dolan




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 28th day of August, 2023, I caused a copy of the foregoing to

   be served on all counsel of record via CM/ECF. All parties required to be served have been served.


                                                /s/George R.A. Doumar
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                                                Pro Hac Vice
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                                                Counsel for Charles H. Dolan




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